Case 4:18-cr-00260-RSB-CLR Document 454 Filed 02/05/19 Page 1 of 12

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GE()RGIA
SAVANNAH DIVISION

UNITED STATES OF AMERICA )
v. l CR 418-260
CODY PENFIELD l

PLEA AGREEMENT

Defendant, Cody Penfield, represented by his counsel Jeffrey L. Arnold, Esq.,

and the United States of America, represented by Assistant United States Attorneys

Greg Gilluly and Frank Pennington, have reached a plea agreement in this case. The

terms and conditions of that agreement are as follows.

1.

M

Defendant agrees to plead guilty to Count One of the Indictment that charges

Conspiracy to Possess With Intent to Distribute and to Distribute 50 grams 01‘ More

of Methamphetamine, in violation of 21 U.S.C. § 846.

2.

Elements and Factual Basis

The elements necessary to prove the offense of Count One are as follows:

FIRST:

SECOND:

THIRD:

That two or more people in some Way agreed to try to accomplish
a shared and unlawful plan to possess 50 grams or more of
methamphetamine;

That the defendant knew the unlawful purpose of the plan and
Willfully joined in it; and

That the object ofthe unlawful plan was to possess With the intent

to distribute and to distribute 50 grams 01‘ more Of
methamphetamine

159

Case 4:18-cr-OO260-RSB-CLR Document 454 Filed 02/05/19 Page 2 of 12

Defendant agrees that he is, in fact, guilty of this offense He agrees to the
accuracy of the following facts, which satisfy each of the offense’s required elements:

Beginning on a date at least as early as 2015 up to November 8, 2018, in Bryan,
Chatham, Effingham, Emmanuel, Evans and Tattnall Counties within the Southern
District and elsewhere, the defendant, Cody Penfield, aided and abetted by others
known and unknown, with some joining the conspiracy earlier and others joining
later, did knowingly and intentionally combine, conspire, confederate and agree with
others, known and unknown, to possess with intent to distribute and to distribute 50
grams or more of methamphetamine, a controlled substance, in violation of Title 21,
United States Code, Section 846. The defendant does not dispute the manner and
means of the conspiracy

3. l Poss{i¢l;){l; SE%’:;?§ eli/eq % /W¢Mz<'( z{{z?» ¢C'/ W»(f/Z¢:,fé~

Count One: :-,'2/ g /Z/C!!/£Z)/,c¢ d/!/M'/ W;,<¢/
é/%/ %Jz" ’).? z /¢’““‘ /Z/?'

_Not less than 10 years, up to life in prison; WJ j £Wgé %%'/7/;{

-Not more than a $10,000,000 fine; /V 9
.,/ /"

-Not less than 5 years of supervised release, up to life; and

-a mandatory $100 special assessment
4. No Promised Sentence

No one has promised Defendant that the Court will impose any particular
sentence or a sentence within any particular range. The Court is not bound by any
estimate of sentence given or recommendations made by l)efendant’s counsel, the

government, the U.S. Probation Office, or anyone else. The Court may impose a

242

Case 4:18-cr-OO260-RSB-CLR Document 454 Filed O2/O5/19 Page 3 of 12

sentence up to the statutory maximum. Defendant will not be allowed to withdraw
his plea of guilty if he receives a more severe sentence than he expects
5. Court’s Use of Guidelines

The Court is obligated to use the United States Sentencing Guidelines to
calculate the applicable guideline range for Defendant’s offense and to consider that
range, possible departures under the Sentencing Guidelines, and other sentencing
factors under 18 U.S.C. § 3553(a), in determining his sentence. The Sentencing
Guidelines are advisory; the Court is not required to impose a sentence within the
range those Guidelines suggest The Sentencing Guidelines are based on all of
Defendant’s relevant conduct, pursuant to U.S.S.G. § 1]31.3, not just the facts
underlying the particular Count to which I)efendant is pleading guilty.

6. Agreements Regarding Sentencing Guidelines

a. Acceptance of Responsibilit\;

The government will not object to a recommendation by the U.S. Probation
Office that Defendant receive a two-level reduction in offense level for acceptance of
responsibility pursuant to Section 3E1. l(a) of the Sentencing Guidelines. lf the U.S.
Probation Office makes that recommendation, and Defendant’s offense level is 16 or
greater prior to any reduction for acceptance of responsibility, the government will
move for an additional one-level reduction in offense level pursuant to Section
3El_l(b) based on Defendant’s timely notification of his intention to enter a guilty

plea.

Case 4:18-cr-OO260-RSB-CLR Document 454 Filed O2/O5/19 Page 4 of 12

b. Use of information

The government is free to provide full and accurate information to the Court
and U.S. Probation Office for use in calculating the applicable Sentencing Guidelines
range. Any incriminating information provided by the defendant during his
cooperation will not be used in determining the applicable Guidelines range,
pursuant to U.S.S.G. § 1131.8.
7. Dismissal of Other Counts

At sentencing, the government will move to dismiss any other Counts of the
Indictment that remain pending against Defendant.
8. 21 U.S.C. § 851 Enhancement

The government agrees not to file a Title 21, Section 851, enhancement against

the defendant If iiled, the government will dismiss at sentencingl

9. Cooperation

a_ Complete and Truthful Cooperation Reguired

Defendant must provide full, complete, candid, and truthful cooperation in the
investigation and prosecution of the offenses charged in his lndictment and any
related offenses Defendant shall fully and truthfully disclose his knowledge of those
offenses and shall fully and truthfully answer any question put to him by law
enforcement officers about those offenses

This agreement does not require Defendant to “mal{e a case” against any

particular person. His benefits under this agreement are conditioned only on his

C.P

Case 4:18-cr-OO260-RSB-CLR Document 454 Filed O2/O5/19 Page 5 of 12

cooperation and truthfulness not on the outcome of any trial. grand jur_v, or other
proceeding

b_ Motion for Reduction in Sentence Based on Cooperation

The government, in its sole discretion, will decide whether Defendant’s
cooperation qualifies as “substantial assistance” pursuant to U_S.S.G. § 5K1.1 or Fed.
R. Crim. P. 35 and thereby warrants the filing of a motion for downward departure
or reduction in Defendant’s sentence. If such a motion is filed, the Court, in its sole
discretion, will decide whether, and to what extent, Defendant’s sentence should be
reduced The Court is not required to accept any recommendation by the government

that the Defendant’s sentence be reduced
10. Financial Obligations and Ag reements

a. Special Assessment

Defendant agrees to pay a special assessment in the amount of $100 (per
count), payable to the Clerk of the United States District Court, which shall be due
immediately at the time of sentencing

b. Reguired Financial Disclosures

By the date that Defendant enters a guilty plea, Defendant shall complete a
financial disclosure form listing all his assets and financial interests, whether held
directly or indirectly, solely or jointly, in his name or in the name of another_
Defendant shall sign the financial disclosure form under penalty of perjury and
provide that form to the l"inancial Litigation Unit of the United States Attorney’s

Office and to the United States Probation Office. Defendant authorizes the United

SC:D

Case 4:18-cr-OO260-RSB-CLR Document 454 Filed O2/O5/19 Page 6 of 12

States to obtain credit reports on Defendant and to share the contents of those reports
with the Court and the United States Probation Off'icc. Defendant also authorizes
the United States Attorney’s Office to inspect and copy all financial documents and
information held by the United States Probation Office.

c. Financial Examination

 

Defendant will submit to an examination under oath on the issue of his
financial disclosures and assets if deemed necessary by the United States. Such
examination will occur not later than 30 days after the entry of Defendant’s guilty
plea.

d. No Transfer of Assets

Defendant certifies that he has made no transfer of assets in contemplations
of this prosecution for the purpose of evading or defeating financial obligations
created by this Agreement or that may be imposed upon him by the Court at
sentencing. Defendant promises that he will make no such transfers in the future.

e. l\/Iaterial Change in Circumstances

Defendant agrees to notify the United States of any material change in
circumstances as described in 18 U.S.C. § 3664(1<), that occurs prior to sentencing in
this case. Such notification will be made within seven days of the event giving rise
to the changed circumstances and in no event later than the date of sentencing

f. Enforcement

Any payment schedule imposed by the Court is without prejudice to the United

States to take all actions and remedies available to it to collect the full amount of the

ca

Case 4:18-cr-OO260-RSB-CLR Document 454 Filed O2/O5/19 Page 7 of 12

financial obligations imposed by the judgment of the Court in this case. Defendant
understands and agrees that the financial obligations imposed by the judgment of the
Court in this case will be placed on the Treasury Offset Program so that any federal
payment that Defendant receives may be offset and applied to the judgment debt
without regard to or affecting any payment schedule imposed by the Court.

g. Forfeiture and Abandonment of Property

The defendant agrees to forfeit and abandon any property that was seized
during this investigation, including the firearms listed in the indictment.
11. Waivers

a. Waiver of Appeal

Defendant entirely waives his right to a direct appeal of his conviction and
sentence on any ground (including any argument that the statute to which the
defendant is pleading guilty is unconstitutional or that the admitted conduct does not
fall within the scope of the statute). The only exceptions are that the Defendant may
file a direct appeal of his sentence if (1) the court enters a sentence above the statutory
maximum, (2) the court enters a sentence above the advisory Sentencing Guidelines
range found to apply by the court at sentencing; or (3) the Government appeals the
sentencel Absent those exceptions, Defendant explicitly and irrevocably instructs his
attorney not to file an appeal

b. Waiver of Collateral Attaclc

Defendant entirely waives his right to collaterally attack his conviction and

sentence on any ground and by any method, including but not limited to a 28 U.S.C.

767?

Case 4:18-cr-OO260-RSB-CLR Document 454 Filed O2/O5/19 Page 8 of 12

§ 2255 motion. The only exception is that Defendant may collaterally attack his
conviction and sentence based on a claim of ineffective assistance of counsel

c. FOlA and Privacv Act Waiver

Defendant waives all rights, whether asserted directly or through a
representative, to request or receive from any department or agency of the United
States any record pertaining to the investigation or prosecution of this case under the
authority of the Freedom of lnformation Act, 5 U.S.C. § 552, or the Privacy Act of
1974, 5 U.S.C. § 552a, and all subsequent amendments thereto.

d. Fed. R. Criin. P. ll(f) and Fed. R. Evid. 410 Waiver

Rule ll(f) of the Federal Rules Of Criminal Procedure and Rule 410 of the
Federal Rules of Evidence ordinarily limit the admissibility of statements made by a
defendant during the course of plea discussions or plea proceedings Defendant
knowingly and voluntarily waives the protections of these rules. lf Defendant fails
to plead guilty, or his plea of guilty is later withdrawn, all of Defendant’s statements
in connection with this plea, and any leads derived therefrom, shall be admissible for
any and all purposes

12. Defendant’s Rights

 

Defendant has the right to be represented by counsel, and if necessary have
the court appoint counsel, at trial and at every other critical stage of the proceeding
Defendant possesses a number of rights which he will waive by pleading guilty,
including: the right to plead not guilty, or having already so pleaded, to persist in

that plea; the right to a jury trial; and the right at trial to confront and cross-examine

Case 4:18-cr-OO260-RSB-CLR Document 454 Filed O2/O5/19 Page 9 of 12

adverse witnesses, to be protected from compelled self-incrimination, to testify and
present evidence, and to compel the attendance ofwitnesses.

13. Satisfaction with Counsel

 

Defendant has had the benefit of legal counsel in negotiating this agreement
Defendant believes that his attorney has represented him faithfully, skillfully, and
diligently, and he is completely satisfied with the legal advice given and the work
performed by his attorney.

14. Breach of Plea Agreernent

Defendant breaches this agreement if, prior to sentencing in his case, he fails
to comply with any of the terms of this agreement, withdraws or attempts to
withdraw his guilty plea, refuses to accept responsibility for his criminal conduct,
obstructs justice, tampers with witnesses or evidence, or commits any new crimes lf
Defendant breaches the plea agreement, the government is released from any
agreement herein regarding the calculation of the advisory Sentencing Guidelines or
the appropriate sentence. Additionally, such a breach by the defendant will be a
breach of his cooperation agreement, thereby allowing the government to use all
otherwise proffer-protected information at sentencing ln addition, the government
may (1) declare the plea agreement null and void, (2) reinstate any counts that may
have been dismissed pursuant to the plea agreement, and/or (3) file new charges
against Defendant that might otherwise be barred by this plea agreement Defendant

waives any statute-of-limitations or speedy trial defense to prosecutions reinstated

Qc?>

or commenced under this paragraph

Case 4:18-cr-OO260-RSB-CLR Document 454 Filed O2/O5/19 Page 10 of 12

15. Entire Aereement

 

This agreement contains the entire agreement between the government and

Defendant

Signo,tures on following page

m C,P

Case 4:18-cr-OO260-RSB-CLR Document 454 Filed O2/O5/19 Page 11 of 12

BOBBY L. CHRISTINE
UNITED STATES ATTORNEY

r%a@

Date §rian T. Raffert

 

 

|» 111 l°l
Date E. Greg Gilluly, Jr.
TN Bar No. 019397

Assistant United St tes Attorney
Date 5 .lI].
s` an M ates Attorney

Signatures on following page

~U\°

Case 4:18-cr-OO260-RSB-CLR Document 454 Filed O2/O5/19 Page 12 of 12

l have read and carefully reviewed this agreement with my attorney. l

understand each provision of this agreement, and l voluntaiily agree to it. l hereby

stipulate that the factual basis set out therZ/’£ try ate in every respect
17
lZ." ¢'-l "/l§

Date Codé'/lig enfield, Defendant dp
-, ,., ,Tj§*.r /' = n -
WW” ,'--~'»' -- , -)

gill ".r'.’ "/
i/'g. l (!¢J¢"

 
    

 
    

ri/> »

l have fully explained to Defendant all of his rights, and l have carefully
reviewed each and every part of this agreement with him. l believe that he fully and
completely understands it, and that his decision to enter into this agreement is an

informed, intelligent, and voluntary one.

 

 

Date "' ';J¢{fftfey l/Ai(/ old

L/ Defenda t’sAttorney

v'j@/</

